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AO 91 (Rev . 11 / 11 ) Criminal Complaint                                                                            FILED
                                                                                                             February 29, 2024
                                         UNITED STATES DISTRICT COURT                                       CLERK, U.S. DISTRICT COURT
                                                                                                            WESTERN DISTRICT OF TEXAS
                                                              for the
                                                  Western District of Texas                            BY      Pablo Chapablanco
                                                                                                                                          DEPUTY

                    United States of America                      )
                                    V.                            )
                                                                  )      Case No.   EP:24-M-00945-ATB
                                                                  )
                                                                  )
                                                                  )
                    Javier CARDOZA Rodriguez                      )
                              Defendant(s)


                                               CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 20, 2023/October 16, 2022 in the county of El Paso                                                    in the
Western                  District of Texas                    , the defendant(s) violated:

              Code Section                                                 Offense Description

21 USC 841 & 846                             Conspiracy to Possess with Intent to Distribute more than 5 kilograms of
                                             cocame

8 USC 1325 (a)(l)                            Improper Entry into the United States by an Alien
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           This criminal complaint is based on these facts:

See Attachment A
                                                                                                Clerk, U.S. CMlWJct CQllll1 -

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           D Continued on the attached sheet.

                                                                                       tlu:d /l~da,
                                                                                             Complainant 's signature
Complaint sworn to telephonically on
  February 29, 2024 at 0640 PM and signed                                Uriel Acosta/FBI Special Agent
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)                                                    Printed name and title




Date:      February 29, 2024                                                        LJ_j /JI-~
                                                                                                Judge 's signature

City and state:         El Paso , Texas                                  United States Magistrate Judge Anne T. Berton
                                                                                              Printed name and title
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United States of America
v.
Javier Cardoza Rodriguez
                                      Attachment A
        Your affiant, Special Agent Uriel Acosta with the Federal Bureau of Investigation (FBI),
being duly sworn does depose and state the following: your affiant is a Special Agent with the
FBI since May 2018, and is currently assigned to the El Paso Field Office. Your affiant has
received specialized training in controlled substance violations, including but not limited to Title
21 of the United States Code. Your affiant is familiar with investigations involving the
transportation, storage, and distribution of controlled substances. This attachment does not
discuss all the details of the investigation but is being submitted for the limited purpose of
establishing probable cause. The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
        In or about July 2023, information was received from an FBI confidential source that a
subject known to the FBI as GORDO was looking for people willing to transport approximately
60 kilograms of cocaine from El Paso, Texas to Virginia. Shortly thereafter, GORDO advised
that the organization had 70 kilograms ready in El Paso, but still had to consolidate them before
turning them over. As the logistic communications continued, it was learned through GORDO
that the organization wanted to transport the cocaine to Virginia, Florida, Cincinnati, or North
Carolina. The confidential source reported that GORDO was working for a man known as Rl 00,
a plaza boss operating for La Linea Cartel. A Homeland Security Investigations (HSI)
undercover agent (UCE) was introduced as a truck driver and someone willing to transport the
cocaine to those destinations. On July 20, 2023, an operation was conducted in which 35
bundles of cocaine were seized in El Paso, Texas with a final weight of approximately 40.5
kilograms.

        On February 14, 2024, FBI Border Liaison Officer (BLO) Rodolfo Ortega received
information from the Government of Mexico (GOM) related to Rl 00, who was identified by
GOM as Javier CARDOZA Rodriguez. CARDOZA was also identified by GOM by the
nicknames of Seinsei, Karateca and/or Rolex. Agents researched and found that CARDOZA
was in the Western District of Texas on bail from an immigration court. On February 15, 2024,
CARDOZA was placed into custody by agents from Immigration and Customs Enforcement in
El Paso, Texas. Upon being placed into custody, BLO Ortega and agents from Department of
Homeland Security (DHS) interviewed him. During this interview, CARDOZA denied being the
same person as Rt 00, and added he worked for a member of the Juarez Cartel known as RI 00.
CARDOZA further stated his boss had already died and he was buried in Ciudad Juarez.
CARDOZA stated he was in charge of collecting drug proceeds from money couriers in Ciudad
Juarez and delivering bribe money to multiple Mexican Government Officials on behalf of RI 00.
       In addition, a telephonic analysis was conducted on two telephones which CARDOZA
provided consent to search. Several text messages and pictures were found indicating that
CARDOZA was the same person as Rt 00, Karateca and Sensei, to include a photograph
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depicting the names of"Jenyfer y Sensei" written on the sand. CARDOZA also has text message
communications with Mexjcan singer A.L. in which it he is coordinating the composing of the
lyrics for a "Narco Corrido." A.L. composed three songs for "RI 00," "Ro lex" and "Sensei,"
which include some of the lyrics provided by CARDOZA.
        Moreover, during a property search of CARDOZA's vehicle after his apprehension, the
agents found a baseball cap with the numbers "727'' and a logo of a plane. It is known to law
enforcement that members of La Linea Cartel use "727" and the logo of the plane which
represent Boeing 727 planes, the type of planes used by the leader of the Juarez Cartel, Amado
CARRILLO Fuentes to transport cocaine.
        In a subsequent interview, the confidential source reported being familiar with Rl OO's
voice, due to having heard his voice for long periods of time. The confidential source reported
that RI 00 would give orders to Drug Trafficking Organization (OTO) members of La Linea via
telephone or radio. The orders included narcotics trafficking, kidnapping, tortures and murders.
During the interview, the confidential source was played a recording of CARDOZA's voice but
did not disclose to the confidential source whose voice that was. The confidential source
immediately identified the voice as that of Rl 00. The agents also showed a photograph of
CARDOZA to the confidential source, but he was not able to recognize him. The confidential
source stated he/she had never seen Rl 00 in person, only heard him over the telephone or radio.
        From the immigration paperwork, agents learned that CARDOZA is a citizen of Mexico
and alien to the United States. On June 2, 2023 , CARDOZA had been intercepted by
immigration agents in the District of New Mexico. The subject presented service form I-797 to
the agent. The agent advised the subject that the form he provided did not grant him any
immigration status or benefit. CARDOZA admitted that he last entered the Un.ited States on
October 16, 2022 via EI Paso, Texas near Ascarate Park - which is within the Western District of
Texas. That area is not a place designated as a port of entry by the Secretary of the Department
of Homeland Security of the United States.




                                                            Uriel Acosta/FBI Special Agent
